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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

ABDY NIZEYIMANA, on behalf of                       )
himself and all others similarly situated,          )
                                                    )
                       Petitioners,                 )
                                                    )
               v.                                   )       Civil Action No. 20-10685-ADB
                                                    )
ANTONE MONIZ, Superintendent of the                 )
Plymouth County Correctional Facility               )
                                                    )
                       Respondent.                  )

            RESPONDENT’S NOTICE OF RESPONSE TO COURT ORDERS

       Respondent Antone Moniz (“Respondent”), Superintendent of the Plymouth County

Correctional Facility, by and through his attorney, Andrew E. Lelling, United States Attorney for

the District of Massachusetts, respectfully notifies the Court that Washington Da Silva was added

to Unit C-3 on August 10, 2020. Additionally, Leroy Woodley Daley was removed on August 5,

2020, and Manuel Cela-Caguana was released on an order of supervision on August 13, 2020. In

response to the Court’s Order, dated June 16, 2020 (Doc. # 162), Respondent has attached a list of

the names of those Petitioners who remain in Unit C-3. See Exhibit A hereto.

                                                    Respectfully submitted,

                                                    ANTONE MONIZ
                                                    Superintendent of the Plymouth
                                                    County Correctional Facility

                                                    By his attorneys,

                                                    ANDREW E. LELLING,
                                                    United States Attorney

                                             By:    /s/ Rachel Goldstein
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Dated: August 14, 2020                   Rachel.Goldstein@usdoj.gov
